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                                   SOUTHERN DISTRICT OF NEW YORK
                                         PROBATION OFFICE

                                    Report on Offender Under Supervision
                                                     and/or
                                       Petition for Warrant or Summons
                                           with Attached Request for
                                Court Action Direction Detailing Probable Cause


    Offender: Michael Lair                                                     Docket Number: 06 CR 1068-01
 Sentencing Judge: Honorable John F. Keenan, Senior U.S. District Judge

 Date of Original Sentence:         April 17, 2007

 Original Offense:          Wire Fraud {18 USC 1343}

 Original Sentence:          Twenty Seven (27) Months Imprisonment followed by a Three (3) Year Term of
                             Supervised Release

 Type of Supervision:          Supervised Release      Date Supervision Commenced:                October 24, 2008



                                       NON-COMPLIANCE SUMMARY

The offender has not complied with the following conditions of supervision:


           Nature of Noncompliance

1          The offender has failed to complete restitution payments, as directed by the Court.

U.S. PROBATION OFFICER ACTION

Reference is made to the above-captioned releasee who was sentenced by Your Honor as indicated. By way
of background, on July 29,2008, Lair was released from the custody ofthe U.S. Bureau of Prisons at which
time he commenced supervision in the Southern District of New York, based on his New York City
residency.

On January 17, 2010, a Request for Warrant was sent to the Court due to Lair's non-compliance.

On June 8, 2010, Lair admitted guilt to violations ofcondition #3 ofthe term ofsupervision. Specifically, on
or before July 9, 2009, Lair used a controlled substance, to wit, cocaine. As a result of the foregoing
circumstances, Lair was sentenced to four (4) months imprisonment, followed by a one (1) year term of


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supervised release. Restitution in amount of$307, 103,50 previously imposed remains as a special condition.

At the time of writing, Lair has remitted at total of$699.82. A balance of $306,803.68
remams.

Lair has been in contact with agents ofthe Financial Litigation Unit (FLU) ofthe United States Attorney's
Office who have discussed the offender's financial status and the continued collection of restitution. By
statute, efforts by FLU to collect and monitor restitution payments will continue for 20 years from the
judgment date, well beyond the maximum expiration date.

                   SUMMARY OF COMPLIANCE WITH SUPERVISION CONDITIONS

Lair's initial noncompliance is a matter of record with this Court. His prior behavior, which included
drug usage was deemed unacceptable by Your Honor. Since his release from custody, in October 2010,
however, Lair's supervision has been fraught with unrelated difficulties. Lair has been undomiciled
intermittently and has been unable to secure viable employment, subsisting primarily with the help of
friends and odd jobs. Recently, Lair was able to secure a position but reportedly stopped soon thereafter
due to recurring medical issues.

Lair has reported as directed and has communicated status changes to the undersigned Senior U.S.
Probation Officer.

                              RECOMMENDATION AND JUSTIFICATION

In view ofthe above, we respectfully recommend that Lair's supervision tenn be allowed to terminate on
October 5,2011, as scheduled.

I declare under penalty of perjury that the foregoing is true and correct.

                                                             Respectfully submitted,

                                                             Michael J. Fitzpatrick
                                                             Chief U.S. Probation Officer



                                                             Michael R. Cox
                                                             Senior U.S. Probation Officer
                                                             212-805-5112



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Pau Wodeshick        Date
Supervising U.S. Probation Officer




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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK
                              PROBATION OFFICE

                                  Judicial Response



THE COURT ORDERS:

  /
[V]   Court approves U.S. Probation Officer's recommendation. Supervision to terminate
      on October 5, 2011, as scheduled.
[]    Submit a Request for ModifYing the Condition or Term of Supervision
[ ]   Other
